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                             1
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                             2     MILLENNIUM LEGAL LLC
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                             3     Las Vegas Nevada 89119
                                   (702) 936-4830 (Tel.)
                             4
                                   (702) 472-9174 (Fax.)
                             5     brian@millenniumlegal.com
                                   Attorney for Plaintiff
                             6

                             7
                                                                 UNITED STATES DISTRICT COURT
                                                                      DISTRICT OF NEVADA
                             8                                        LAS VEGAS, NEVADA
                             9     ARACELY PACHECO MORAN,                                    Case File No.: 2:20-cv-01316-JAD-EJY
                             10        Plaintiff,
                                                                                             Immigration File No.: A 071-572-344
5258 S. Eastern Ave, Suite 202
MILLENNIUM LEGAL LLC




                                           v.
  Las Vegas, Nevada 89119




                             11
                                                                                             Stipulation and Order for Extension of Time
       (702) 518-9808




                             12    CHAD WOLF, et al.,
                             13        Defendants.                                           (First Request)

                             14
                                          Pursuant to Federal Rule of Civil Procedure 6(b)(1)(A), Petitioner and Respondents, through
                             15
                                  undersigned counsel, stipulate and request that the Court approve a 10-day extension of time, from
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                                  October 19, 2020 to October 29, 2020, for Plaintiff to file her opposition to Defendants’ Motion to
                             17
                                  Dismiss Plaintiff’s Amended Complaint for Injunctive and Mandamus Relief (ECF No. 26)
                             18
                                  (“Defendants’ Motion to Dismiss”).
                             19
                                          Plaintiff’s counsel has been hamstrung by the extended medical leave of his only paralegal,
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                                  which has affected counsel’s ability to respond to multiple filings due during the first weeks of
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                             22
                                  October. The deadlines in these other matters require appropriate and prompt response. Under the

                             23   circumstances, good cause exists to extend the time for Plaintiff to file her opposition to

                             24   Defendants’ Motion to Dismiss. See Fed. R. Civ. P. 6(b)(1)(A) (“When an act may or must be done

                             25   within a specified time, the court may, for good cause, extend the time…with or without motion or

                             26   notice if the court acts, or if a request is made, before the original time or its extension expires[.]”)
                             27   (emphasis added).
                             28


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                                                                                                                 Aracely Pacheco Moran
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                             1           This is Plaintiff’s first request for an extension of time. This stipulated request is filed in
                             2    good faith and not for the purpose of undue delay.
                             3

                             4            Respectfully submitted this 26th day of October 2020.
                             5     NICHOLAS A. TRUTANICH
                                   United States Attorney                     MILLENNIUM LEGAL LLC
                             6
                                   /s/ Holly A. Vance                             /s/ Brian J. Ramsey
                             7     HOLLY A. VANCE                                 BRIAN J. RAMSEY, ESQ.
                                   Assistant United States Attorney               MILLENNIUM LEGAL LLC
                             8     400 South Virginia Street, Suite 900
                                   Reno, Nevada 89501                             Attorney for Plaintiff
                             9     Attorney for Respondents

                             10                                               IT IS SO ORDERED:
5258 S. Eastern Ave, Suite 202
MILLENNIUM LEGAL LLC
  Las Vegas, Nevada 89119




                             11
       (702) 518-9808




                             12

                             13
                                                                               UNITED STATES MAGISTRATE JUDGE
                             14
                                                                               Dated: October 26, 2020
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                                                                                                                Aracely Pacheco Moran
